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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF GEORGIA

CASE NO.

 

RULE 26 INS”IFRUCTION ORDER FOR REMOVAL CASES

Federal Rule of Civil Procedure 26® requires the parties to confer, develop a
proposed discovery plan, and submit a report to this Court. Subsequent to the filing of the
report, a Scheduling Order must be entered pursuant to Fed. R. Civ. P. l6(b). Therefore:
within twenty-one (21) days of the date of filing of the notice of removal or within 21 days
of the date of filing of the last answer of the defendants, whichever is later, but in no event
later than forty-five (45) days after the first appearance by answer or motion under Fed. R.
Civ. P. 12 of a defendant named in the original complaint, the parties shall confer as
provided in sure 26(£). g L.R.-zé.i(e).i rhereaa@r, within fourteen (14) days after the
required conference held pursuant to Rule 26(i), the parties shall submit to the Court a
written report conforming to the language and format of the Rule 26(£`) Report attached to
this Order outlining their discovery plan. § L.R. 26.l(b).

Except in unusually protracted or complex cases, the parties will be expected to
adhere to the following deadlines and limitations:

l. The parties shall serve all written discoverv on opposing parties and

shall complete all depositions within 140 days of the filing of the last

answer of the defendants named in the original complaint w L.R.
26.1(d)(l).

 

‘ The Local Rules may be found on the Court’s Website at www.gasd.uscourts.gov.

 

 

 

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2. The plaintiff must furnish the expert witness reports required by Rule
26(a)(2) within 60 days after the Rule 26(f) conference §§ L.R.

26.i(d)(ii).

3. The defendant must furnish the expert witness reports required by
Rule 26(a)(2) within 90 days after the Rule 26(f) conference (or 60
days after the answer, whichever is later). § L.R. 26. l(d)(iii).

4. The last day for filing motions to add or ioin parties or amend the
pleadings is 60 days after the first answer of the defendants named in
the original complaint §ee L.R. 16.3.

5. The last day for filing all other motions, excluding motions in limine,
is 30 days after the close of discovery. §§ L.R. 7.4.

Defendant’s counsel shall ensure that a copy of this Order is served upon all parties Finally,
a party who cannot gain the cooperation of the other party in preparing the Rule 26(f) Report
should advise the Court prior to the due date of the report of the other party’s failure to
cooperate l

SO ORDERED.

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BRIAN K. EPPS/
UNITED STATES MAGISTRATE JUDGE

 

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DIVISION

Plaintiff

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) Case No.
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Defendant )

RULE 26(9 REPORT
Date of Rule 26(f) conferencef
Parties or counsel who participated in conferencef

 

 

 

 

lf any defendant has yet to be served, please identify the
defendant and state When service is expected

 

Date the Rule 26(a)(1) disclosures Were made or will be madel

 

lf any party objects to making the initial disclosures required by

Rule 26(a)(1) or proposes changes to the timing or form of those

disclosures,

(a) Identify the party or parties making the objection or
proposah

 

 

 

(b) Specify the objection or proposalf

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6. The Local Rules provide a 140'day period for discovery lf any
party is requesting additional time for discovery,

(a) ldentify the party or parties requesting additional timei

 

 

 

(b) State the number of months the parties are requesting for
discoveryf
months

(c) ldentify the reason(s) for requesting additional time for
discoveryl

_______ Unusually large number of parties

Unusually large number of claims or defenses
Unusually large number of witnesses
Exceptionally complex factual issues

Need for discovery outside the United States

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(d) Please provide a brief statement in support of each of the
reasons identified abovef

 

 

 

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lf any party is requesting that discovery be limited to particular
issues or conducted in phases, please

(a) ldentify the party or parties requesting such limitsf

 

 

 

(b) State the nature of any proposed limits?

 

 

 

The Local Rules provide, and the Court generally imposes, the
following deadlinesi

Last day for filing motions to add 60 days after issue is joined
or join parties or amend pleadings

Last day to furnish expert Witness 60 days after Rule26(f)

report by plaintiff conference

Last day to furnish expert witness 90 days after Rule 26(f)

report by a defendant conference (or
60 days

after the answer,
whichever is later)

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Last day to file motions 30 days after close of
discovery

lf any party requests a modification of any of these deadlines,

(a) ldentify the party or parties requesting the modificationi

 

 

 

(bl State which deadline should be modified and the reason
supporting the request?

 

 

 

 

 

9. lf the case involves electronic discovery,

(a) State vvhether the parties have reached an agreement
regarding the preservation, disclosure, or discovery of
electronically stored information, and if the parties prefer to
have their agreement memoralized in the scheduling order,
briefly describe the terms of their agreementi

 

 

(b) ldentify any issues regarding electronically stored
information as to which the parties have been unable to
reach an agreement!

 

 

10.

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12.

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lf the case is known to involve claims of privilege or protection of
trial preparation material,

(a)

(b)

(c)

State whether the parties have reached an agreement
regarding the procedures for asserting claims of privilege or
protection after production of either electronic or other
discovery materialf

 

 

Briefly describe the terms of any agreement the parties wish
to have memoralized in the scheduling order (or attach any
separate proposed order which the parties are requesting
the Court to enter addressing such matters)f

 

 

ldentify any issues regarding claims of privilege or
protection as to Which the parties have been unable to reach
an agreementi

 

 

 

State any other matters the Court should include in its scheduling
order1

 

 

The parties certify by their signatures below that they have
discussed the nature and basis of their claims and defenses and

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the possibilities for prompt settlement or resolution of the case.
Please state any specific problems that have created a hindrance
to the settlement of the casef

 

 

 

This day of , 20

 

Signedf
A ttorn ey fbr P]ajn tr‘ff

 

A ttorney for Dei"en dan t

